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                  EXHIBIT A
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15    Intelligence Inc., Kiah Lau Haslett and Zach Fox
16                            IN THE UNITED STATES DISTRICT COURT
17                                       DISTRICT OF ARIZONA
18
      Justine Hurry, an individual; Scottsdale        NO. 2:18-cv-01105-JAT
19    Capital Advisors Corp., an Arizona
      corporation,
20                                                    (Formerly Maricopa County Superior
                           Plaintiffs,                Court Case No. CV2018-002465
21
              vs.
22                                                    CERTIFICATE OF
      S&P Global Inc., a New York corporation;        CONSULTATION
23    S&P Global Market Intelligence Inc., a
      Delaware corporation; Kiah Lau Haslett, an
24    individual; Zach Fox, an individual; and
      Does 1-10, inclusive,
25
                           Defendants.
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 1           Pursuant to LRCiv. 12.1(c), undersigned counsel certifies that on April 11, 2018,
 2   counsel for the parties conferred by phone before the filing of this motion. During the
 3   call, counsel for Defendants notified Plaintiffs’ counsel of the issues asserted in the instant
 4   motion, but the parties were unable to agree that the Complaint was curable in any part by
 5   a permissible amendment.
 6           RESPECTFULLY SUBMITTED this 18 day of April, 2018.
 7                                              JASSY VICK CAROLAN LLP
 8                                              By: /s/ Duffy Carolan
                                                   Duffy Carolan
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                                                   Jean-Paul Jassy
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14                                                  Attorneys for Defendants
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15                                                  Intelligence, Inc., Kiah Lau Haslett, Zach
16                                                  Fox

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